    Case 19-02067-MM13                  Filed 08/13/19          Entered 08/13/19 17:30:06   Doc 34     Pg. 1 of 1


                                      UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF CALIFORNIA

                                                          Minute Order
Hearing Information:
                                                                                                                       0.00
                     Debtor:    IRAJ MOHMADI
               Case Number:     19-02067-MM13                      Chapter: 13
      Date / Time / Room:       TUESDAY, AUGUST 13, 2019 02:00 PM DEPARTMENT 1
       Bankruptcy Judge:        MARGARET M. MANN
        Courtroom Clerk:        LISA CRUZ
          Reporter / ECR:       LYNETTE ALVES

Matter:
              MOTION FOR RELIEF FROM STAY, RS # JCW-1 FILED BY U.S. BANK TRUST, N.A., AS TRUSTEE
              FOR LSF9 MASTER PARTICIPATION TRUST



Appearances:
        APPEARANCES EXCUSED




Disposition:                                                                                             1.00

        Tentative Ruling as issued is the Order of the Court. Appearances waived.




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